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                                United States District Court
                                        EASTERN DISTRICT OF TEXAS
                                           TEXARKANA DIVISION


    UNITED STATES OF AMERICA                            §
                                                        §
    V.                                                  §            CASE NO. 5:07CR1(3)
                                                        §
    SIMONEL DURAN ESTRADA                               §


                   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                             FINDING DEFENDANT GUILTY

            On this day, the Court considered the Findings of Fact and Recommendation of United States

    Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 1 of an Indictment in

    violation of Title 21, USC, Section 846, Conspiracy to Distribute and Possess with the Intent to Distribute

    Marijuana. Having conducted a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the

    Magistrate Judge recommends that the Court accept the guilty plea of the Defendant. Objections to the

    Findings of Fact and Recommendation have been waived by all parties. The Court is of the opinion that the

    Findings of Fact and Recommendation should be accepted.

.           It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

    Magistrate Judge, filed September 26, 2007, are hereby ADOPTED.

            It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

    GUILTY of Count 1 of the Indictment in the above-numbered cause.

            SIGNED this 15th day of October, 2007.




                                                            ____________________________________
                                                            DAVID FOLSOM
                                                            UNITED STATES DISTRICT JUDGE
